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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

U.S. EQUAL EMPLOYMENT                                §
OPPORTUNITY COMMISSION,                              §
                                                     §      CIVIL ACTION NO.
                        Plaintiff.                   §
                                                     §          3:16-CV-03328-K
v.                                                   §
                                                     §
OFF THE AIR II, INC., d/b/a                          §      JURY TRIAL DEMANDED
NICK’S SPORTS GRILL,                                 §
                                                     §
                        Defendant.                   §
__________________________________________________________________

              NOTICE OF APPEARANCE AND REQUEST FOR NOTICE
__________________________________________________________________

TO ALL PARTIES, PLEASE TAKE NOTICE THAT:

         LATRICE ANDREWS files this her Notice of Appearance and Request for

Notice in the above-styled case, and respectfully requests that all notices given or

required to be given in these proceedings and all papers served or requested to be

served    in   these   proceedings   be   served   upon   the   undersigned   individual   at    the

following address:




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                          Latrice E. Andrews
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                                               Respectfully Submitted,

                                               SHEILS WINNUBST
                                               A Professional Corporation

                                               By:    /s/ Latrice E. Andrews
                                                      Latrice E. Andrews
                                                      State Bar No. 24063984

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                                               ATTORNEYS FOR PLAINTIFF

                             CERTIFICATE OF SERVICE

      On the 23rd day of February, 2018, I electronically submitted the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of
Texas, using the electronic case filing system of the Court. I hereby certify that I
have served all counsel and parties of record electronically or by another means
authorized through Federal Rule of Civil Procedure 5(b)(2) and Local Rule 7.2.

                                               /s/ Latrice E. Andrews
                                               Latrice E. Andrews

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